Case 2:03-cr-20466-SH|\/| Document 115 Filed O5/O5/O5 Page 1 of 2 Page|D 125

IN THE UNITED STATES DISTRICT cOURT
FOR THE WESTERN DISTRICT oF TENNESSEE USH£Y_§ p
WESTERN DIvISION ' ` ":

 

 

 

UNITED STATES OF AMERICA

VS. CR. NO. 03-20466-Ma

RUDY E. BELTRAN,

Defendant.

 

ORDER GRANTING MOTION TO C'ONTINUE SUPPRESSION HEARING

 

Before the court is the April 26, 2005, motion of the
Defendant, Rudy E. Beltran, for a continuance of the suppression
hearing set for May ll, 2005. For good cause shown, the motion is

granted. The hearing on the motion to suppress is reset to

Wednesday, May 25, 2005 at 9200 a.m.
sgt

day of May, 2005.

H. MAYS, JR.`
IT sTATEs DISTRICT JUDGE

IT IS SO ORDERED this th

Th'va document entered on the docket sheet in compliance
th mule 55 arm/m 3203) FRCrP on ' bd

 

 

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This notice confirms a copy of the document docketed as number 115 in
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Honorable Samuel Mays
US DISTRICT COURT

